       Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 1 of 63




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 PUBLIC EMPLOYEES FOR ENVIRONMENTAL
 RESPONSIBILITY,                                                  Civil Action No. 18-cv-158 (CKK)
         Plaintiff,

         v.

 DEPARTMENT OF HOMELAND SECURITY,

         Defendant.



                        DECLARATION OF GREGORY BRIDGES

       I, Gregory Bridges, hereby declare, pursuant to 28 U.S.C. § 1746, the following to be true

and correct:

       1.      I am the Acting Chief of the Disclosure Branch, Records Management Division,

Federal Emergency Management Agency (“FEMA”), United States Department of Homeland

Security (“DHS”). I have held this position since February 18, 2019. In this capacity, I am

responsible for the overall activities and operations of FEMA’s compliance with the Federal

Freedom of Information Act (“FOIA”) and the Privacy Act of 1974, including document

production on behalf of FEMA. I have been with FEMA since August 21, 2018.

       2.      I make this declaration based on my personal knowledge of FEMA’s FOIA

processing procedures and the circumstances surrounding FEMA’s response to plaintiff Public

Employees for Environmental Responsibility’s September 1, 2017 request. The purpose of this

declaration is to provide information concerning FEMA’s Vaughn index, and information withheld

from plaintiff pursuant to FOIA Exemption 5.
       Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 2 of 63




       3.     By letter dated September 1, 2017, plaintiff requested documents related to the draft

2015 Strategic National Risk Assessment (“SNRA Documents”). Specifically, plaintiff requested

the SNRA 2015 Findings [Report], May 2015; SNRA 2015 Technical Appendix, May 2015;

SNRA 2015 Working Papers, May 2015; PPD-8 Implementation Plan, May 2011; SNRA Terms

of Reference, June 2011; SNRA 2015 Update Background and General Guidance, February 2015;

SNRA 2015 Qualitative Data Instructions, February 2015; SNRA 2015 Risk Summary Sheet

Instructions & Template, February 2015; and any successor SNRA versions later than May 2015.

Copy attached as Exhibit A.

       4.     In response to the request, FEMA produced, in full, the SNRA 2015 Update

Background and General Guidance, February 2015; SNRA 2015 Qualitative Data Instructions,

February 2015; and the SNRA 2015 Risk Summary Sheet Instructions & Template, February 2015.

The remaining items were withheld in their entirety pursuant to Exemption 5.

       5.     FEMA subsequently made three more productions on May 9, 2018, June 22, 2018,

and June 25, 2018, making discretionary releases of additional information.          The releases

contained all of the requested documents with Bates numbering. The May 9, 2018 production

contained the previously-released SNRA 2015 Update Background and General Guidance,

February 2015; SNRA 2015 Qualitative Data Instructions, February 2015; and the SNRA 2015

Risk Summary Sheet Instructions & Template, February 2015. These were released with no

exemptions claimed. The June 22, 2018 production contained the SNRA 2015 Findings [Report],

May 2015; PPD-8 Implementation Plan, May 2011; SNRA Terms of Reference, June 2011; and

the successor SNRA versions later than May 2015: the Summary of Findings, November 2015,

the Presidential Policy Directive/PPD-8 Refresh, SNRA Findings Review, May 29, 2015, and the

SNRA 2015 Summary of Findings, May 2015. These were partially released under Exemption 5.



                                                2
        Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 3 of 63




Finally, the June 25, 2018 production contained the SNRA 2015 Technical Appendix, May 2015;

and the SNRA 2015 Working Papers, May 2015. These were partially released under Exemption

5. Thus, no documents were withheld in full from plaintiff any longer.

       6.      Attached as Exhibit B is a Vaughn index prepared by FEMA pursuant to the Court’s

January 18, 2019 Order. It details the withholdings, and their justifications, regarding the

requested draft 2015 SNRA Documents. This index was prepared by FEMA employees familiar

with the draft nature of the SNRA Documents.

       7.      The SNRA Documents that were redacted in part in response to PEER’s FOIA

request are the SNRA Summary of Findings (November 2015); Presidential Policy Directive/PPD-

8 Refresh, SNRA Findings Review (May 29, 2015); SNRA Summary of Findings (May 2015);

SNRA Terms of Reference; SNRA 2015 Technical Appendix (May 2015); SNRA 2011

Supplement: Unclassified Documentation of Findings; and the SNRA Working Papers (May

2015). All of these documents were part of a decision-making process intended to aid in the

development of the 2015 National Preparedness Goal and are described in detail in the

accompanying Vaughn index and the accompanying Stainsby Declaration. I hereby incorporate

this accompanying Vaughn index into this declaration.

       8.      The Vaughn index entries have been tailored to each specific withholding to explain

the basis for that withholding. Nonetheless, many of the entries in the Vaughn index contain

similar language. This is the case for a number of reasons. First, the releases to plaintiff include

records that are similar in style, presentation, and content. For example, the SNRA Summary of

Findings (November 2015), and the Presidential Policy Directive/PPD-8 Refresh, SNRA Findings

Review (May 29, 2015), summarize data and conclusions that would be used to develop the 2015

National preparedness Goal designed to help communities address all threats and hazards, while



                                                 3
        Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 4 of 63




the SNRA 2015 Technical Appendix (May 2015), SNRA 2011 Supplement: Unclassified

Documentation of Findings, and the SNRA Working Papers (May 2015) includes much more

detailed information on the source information, key findings, methodology, and technical data

regarding potential threats and hazards. The stated basis in the Vaughn index for withholding

these records in part or whole will necessarily be the same. Second, even where the records are

very similar, the majority of the withholdings relate to (a) data and information on specific

categories of threats and hazards; (b) impacts; (c) key findings and conclusions; and (d) reference

information and appendices. All of these categories of records comprise and relate to the

assessment of a variety of risks, involving repetitive discussion of threats, hazards, findings, and

conclusions. In order to ensure similar withholdings are treated consistently, FEMA has tried to

provide similar and/or uniform exemption language in the Vaughn index.

       9.      FEMA has invoked Exemption 5 of the FOIA to withhold predecisional,

deliberative information in the documents mentioned in paragraph 7 above.             All of these

documents were exchanged within FEMA and/or between FEMA and other government agencies

and thus qualify for Exemption 5’s threshold of being inter-agency or intra-agency documents and

information.

       10.     The documents with Exemption 5 withholdings are all predecisional. As explained

in the accompanying Stainsby Declaration, the 2015 SNRA documents were developed to be used

in preparing the 2015 National Preparedness Goal, which was published in September 2015. None

of the documents with Exemption 5 withholdings could become final without formal federal

interagency concurrence and senior-level White House approval. This included approval of the

factual information contained within these documents, all of which was culled from a broader set

of facts pertaining to threats and hazards, through the exercise of judgment by the authors of these



                                                 4
       Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 5 of 63




documents. Since FEMA never received the required interagency concurrence and White House

approval, the SNRA documents received no formal approval within FEMA. Thus, they remain

predecisional.

       11.       The information in these documents is deliberative because they consist of

proposed factual findings, proposed assessments of information pertaining to threats and hazards,

and other opinions, recommendations, and proposed conclusions made by the authors. Any factual

information included in these documents consists of facts culled from a larger set of facts

concerning threats and hazards. The authors of these documents used their judgment as to which

facts to include and which facts to exclude, and thus release of this factual information would

reveal their deliberative process in selecting pertinent facts to include in these draft documents.

Additionally, the factual information is so entangled with the analyses and proposed conclusions

in these documents that its release would reveal the deliberative process and, because the

documents were never finalized, may not reflect FEMA’s actual position regarding the risks and

impacts such threats and hazards could present.

       12.       Release of the deliberative information would greatly harm the agency’s

deliberative process by prematurely revealing potential threats and hazards, and analyses and

recommendations concerning these potential threats and hazards when no final determination was

made as to whether the potential threats and hazards were in fact threats and hazards that needed

to be addressed in the manner suggested by the analyses and recommendations. Release of this

information would therefore cause confusion to the public and may result in members of the public

taking action on potential threats and hazards where no action is warranted, or not the action

suggested by a recommendation contained in the documents.




                                                  5
        Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 6 of 63




       13.     Release of this deliberative information would also discourage the open and frank

discussion among agency personnel that is critical to arriving at a final analysis of threats and

hazards faced by this country. Agency personnel may hold back from sharing important

observations, analyses and recommendations, or factual information they thought should be

considered, if they knew that such deliberations would be made public, and this would seriously

undermine the development of an adequate, thorough, thoughtful, soundly based assessment of

hazards and threats facing this country.

       14.     For these reasons, certain information in the documents listed above in paragraph

7, and on the accompanying Vaughn index, was withheld pursuant to Exemption 5.

       15.     As the Vaughn Index shows, FEMA conducted a line-by-line review of all of the

withheld information to ensure that it contained no segregable, nonexempt information. With

respect to each piece of information withheld, no further information could be reasonably

segregated from the exempt information and released, including factual information, for the

reasons stated above.

       I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 1st day of March 2019.              ______________________________
                                                           GREGORY BRIDGES




                                                 6
Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 7 of 63




                EXHIBIT A
Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 8 of 63
Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 9 of 63
Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 10 of 63
Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 11 of 63
Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 12 of 63




                 EXHIBIT B
                                         Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 13 of 63
                               Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                                       TEST
 Bates
          Document Title   Exemption     Description of Withheld Information                                        Jusitification for Withholding
Number

                                                                                   • Deliberative Process Privilege
                                                                                   The deliberative process privilege protects the integrity of the deliberative or decision-making
                                                                                   processes within the agency by exempting from mandatory disclosure opinions, conclusions,
                                                                                   and recommendations included within inter-agency or intra-agency memoranda or letters. The
                                                                                   release of this internal information would discourage the expression of candid opinions and
                                                                                   inhibit the free and frank exchange of information among agency personnel.
                                                                                   The deliberative process privilege was used to withhold source information, technical data,
                                                                                   threats, hazards, analyses, interpretations, conclusions, and information on previouisly-
                                                                                   released threats and hazards that have been updated in the 2015 SNRA. This document is a
       Strategic National                                                          draft and didn't complete the review process in order to be finalized. The withheld information
       Risk Assessment                 Specific threats, drivers, and categories   contains factual information that is so entangled with the analyses and conclusions that release
       (SNRA) 2015,                    identified in the Table of Contents of the would reveal specific threats and hazards which are pre-decisional and part of the deliberative
       Summary of                      Strategic National Risk Assessment (SNRA) process, and may not reflect FEMA's current position regarding risks. Disclosure of this
       Findings, November              2015, Summary of Findings, November         deliberative and pre-decisional information would discourage the expression of candid
000046 2015               (b)(5)       2015.                                       opinions and inhibit the free and frank exchange of information among agency personnel.
                                       Information concerning the differences
                                       between the 2011 SNRA and the 2015
                                       SNRA; footnotes containing definitions,
                                       references, and information on the
                                       differences between the 2011 SNRA and
000048                                 the 2015 SNRA.
                                       Information concerning the differences
                                       between the 2011 SNRA and the 2015
                                       SNRA; footnotes containing information
000049                                 on the scope of the 2015 SNRA.
                                       Information concerning the differences
                                       between the 2011 SNRA and the 2015
                                       SNRA; findings on threats identified in the
                                       2015 SNRA; footnotes describing the scope
                                       of the SNRA and how it relates to other
                                       preparedness programs, and reference
000050                                 information.
                                       Findings on threats identified in the 2015
                                       SNRA, including descriptions of new
000051                                 threats.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 14 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Footnotes containing information on the
                scope, differences between the 2011 SNRA
                and the 2015 SNRA, how risks are studied,
000052          and explanatory information.
                Information on threats new to the 2015
                SNRA, their descriptions, and how they are
                analyzed; footnotes describing national
                prepardeness information used to
                formulate the SNRA, differences between
                the 2011 and 2015 SNRAs, and
                descriptions of how thresholds are
000053          formulized.
                New threats and their descriptions,
                descriptions of threats in the 2015 SNRA
                that differ from the 2011 SNRA; a footnote
                describing the scope and background
000054          information of a new threat.
                New threats and their descriptions, and
                descriptions of threats in the 2015 SNRA
000055          that differ from the 2011 SNRA.
                New threats and their descriptions;
                footnotes describing threats and models
                and how they differ between the 2011 and
000056          2015 SNRAs.
000057          New threats and their descriptions.
                Footnotes describing terminology,
000058          interpretation and analysis methods.
                Information on the results of the 2015
                SNRA, differences between the 2011 and
                2015 SNRAs; a footnote containing
000059          information on a new threat.
                Information on the results of the 2015
                SNRA, differences between the 2011 and
                2015 SNRAs, and new threats and how
000060          they were analyzed.
                Information on new threats and how they
                were analyzed; a footnote containing
                information on the validity of a method of
000061          examination.
                                      Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 15 of 63
                             Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                                    Information and analysis on drivers and
                                    evolving threats; footnotes containing
000062                              reference information.
                                    Information and analysis on drivers and
                                    evolving threats; footnotes containing
000063                              reference information.
                                    Information and analysis on drivers and
                                    evolving threats; footnotes containing
000064                              reference information.
                                    Information and analysis on drivers and
                                    evolving threats; footnotes containing
000065                              reference information.
                                    Information and analysis on drivers and
000066                              evolving threats.
                                    Information and analysis on the threats
                                    and hazards of greatest concern by whole
                                    community partners; footnotes analyzing
                                    source information and contextualizing
000067                              the findings.
                                    Categorization and analysis of threats; a
000068                              footnote contextualizing the findings.
                                                                                • Deliberative Process Privilege
                                                                                The deliberative process privilege protects the integrity of the deliberative or decision-making
                                                                                processes within the agency by exempting from mandatory disclosure opinions, conclusions,
                                                                                and recommendations included within inter-agency or intra-agency memoranda or letters. The
                                                                                release of this internal information would discourage the expression of candid opinions and
                                                                                inhibit the free and frank exchange of information among agency personnel.
                                                                                The deliberative process privilege was used to withhold differences between the 2011 SNRA
                                                                                and the draft 2015 SNRA Findings document. This document is a draft and didn't complete the
       Presidential Policy                                                      review process in order to be finalized. This document contains data and factual information;
       Directive/PPD-8                                                          however, the withheld data and factual information is so entangled with the analyses and
       Refresh, Strategic                                                       conclusions that release would reveal specific threats and hazards which are pre-decisional and
       National Risk                                                            part of the deliberative process, and may not reflect FEMA's current position regarding the
       Assestment,                  Differences between the 2011 and 2015       risks and their impacts on the United States. Disclosure of this deliberative and pre-decisional
       Findings Review,             SNRAs, updated scope, new threats and       information would discourage the expression of candid opinions and inhibit the free and frank
000070 May 29, 2015                 analysis.                                   exchange of information among agency personnel.
                                        Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 16 of 63
                               Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                                                                                    Exemption 5 was used to withhold source information, technical data, threats, hazards,
                                                                                    analyses, interpretations, conclusions, and information on previouisly-released threats and
                                                                                    hazards that were updated for the draft 2015 SNRA. This document is a draft and didn't
                                                                                    complete the review process in order to be finalized. This document contains data and factual
                                                                                    information; however, the withheld data and factual information is so entangled with the
                                                                                    analyses and conclusions that release would reveal specific threats and hazards which are pre-
                                                                                    decisional and part of the deliberative process, and may not reflect FEMA's current position
       SNRA 2015,                     Specific threats, drivers, and categories     regarding the risks and their impacts on the United States. Disclosure of this deliberative and
       Summary of                     identified in the Table of Contents of the    pre-decisional information would discourage the expression of candid opinions and inhibit the
000072 Findings, May 2015 (b)(5)      SNRA 2015.                                    free and frank exchange of information among agency personnel.
                                      Information concerning the differences
                                      between the 2011 SNRA and the 2015
                                      SNRA; footnotes containing definitions,
                                      references, and information on the
                                      differences between the 2011 SNRA and
000074                                the 2015 SNRA.
                                      Information concerning the differences
                                      between the 2011 SNRA and the 2015
                                      SNRA; footnotes containing information
000075                                on the scope of the 2015 SNRA.
                                      Information concerning the differences
                                      between the 2011 SNRA and the 2015
                                      SNRA; findings on threats identified in the
                                      2015 SNRA; footnotes describing the scope
                                      of the SNRA and how it relates to other
000076                                preparedness programs.
                                      Findings on threats identified in the 2015
                                      SNRA, including descriptions of new
000077                                threats.
                                      Footnotes containing information on the
                                      scope, differences between the 2011 SNRA
                                      and the 2015 SNRA, how risks are studied,
000078                                and explanatory information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 17 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on threats new to the 2015
                SNRA, their descriptions, and how they are
                analyzed; footnotes describing national
                prepardeness information used to
                formulate the SNRA, differences between
                the 2011 and 2015 SNRAs, and
                descriptions of how thresholds are
000079          formulized.
                New threats and their descriptions,
                descriptions of threats in the 2015 SNRA
                that differ from the 2011 SNRA, and a
                footnote describing the scope and
000080          background information of a new threat.
                New threats and their descriptions, and
                descriptions of threats in the 2015 SNRA
000081          that differ from the 2011 SNRA.
                New threats and their descriptions;
                footnotes describing threats and models
                and how they differ between the 2011 and
000082          2015 SNRAs.
000083          New threats and their descriptions.
                Footnotes describing terminology,
000084          interpretation and analysis methods.
                Information on the results of the 2015
                SNRA, differences between the 2011 and
                2015 SNRAs; a footnote containing
000085          information on a new threat.
                Information on the results of the 2015
                SNRA, differences between the 2011 and
                2015 SNRAs, and new threats and how
000086          they were analyzed.
                Information on new threats and how they
                were analyzed; a footnote containing
000087          explanatory information.
                Information and analysis on drivers and
                evolving threats; footnotes containing
000088          reference information.
                                     Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 18 of 63
                            Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                                   Information and analysis on drivers and
                                   evolving threats; footnotes containing
000089                             source references.
                                   Information and analysis on drivers and
                                   evolving threats; footnotes containing
000090                             reference information.
                                   Information and analysis on drivers and
                                   evolving threats; footnotes containing
000091                             reference information.
                                   Information and analysis on drivers and
000092                             evolving threats.
                                   Information and analysis on the threats
                                   and hazards of greatest concern by whole
                                   community partners; footnotes containing
000093                             reference and explanatory information.
                                   Categorization and analysis of threats; a
                                   footnote containing explanatory
000094                             information.




                                                                                  • Deliberative Process Privilege
                                                                                  The deliberative process privilege protects the integrity of the deliberative or decision-making
                                                                                  processes within the agency by exempting from mandatory disclosure opinions, conclusions,
                                                                                  and recommendations included within inter-agency or intra-agency memoranda or letters. The
                                                                                  release of this internal information would discourage the expression of candid opinions and
                                                                                  inhibit the free and frank exchange of information among agency personnel.
                                                                                  The deliberative process privilege was used to withhold threats, hazards, and explanatory
                                                                                  information that was updated for the draft 2015 SNRA. This document is a draft and didn't
                                                                                  complete the review process in order to be finalized. The specific threats, hazards, and
                                                                                  explanatory information are pre-decisional and part of the deliberative process, and may not
                                                                                  reflect FEMA's current position regarding the risks and their impacts on the United States.
                                   Threats and hazards; footnotes regarding       Disclosure of this deliberative and pre-decisional information would discourage the expression
       SNRA Terms of               risks, risk assessments, groupings of risks,   of candid opinions and inhibit the free and frank exchange of information among agency
000109 Reference       (b)(5)      and defining thresholds.                       personnel.
                                   A footnote containing examples of risk
000110                             assessments.
                                      Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 19 of 63
                             Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                                                                                 • Deliberative Process Privilege
                                                                                 The deliberative process privilege protects the integrity of the deliberative or decision-making
                                                                                 processes within the agency by exempting from mandatory disclosure opinions, conclusions,
                                                                                 and recommendations included within inter-agency or intra-agency memoranda or letters. The
                                                                                 release of this internal information would discourage the expression of candid opinions and
                                                                                 inhibit the free and frank exchange of information among agency personnel.
                                                                                 The deliberative process privilege was used to withhold the key findings, source information,
                                                                                 methodology, technical data, threats, hazards, analyses, interpretations, conclusions, and
                                                                                 information on previouisly-released threats and hazards that were updated for the draft 2015
                                                                                 SNRA. This document is a draft and didn't complete the review process in order to be finalized.
                                                                                 This document contains data and factual information; however, the withheld data and factual
                                                                                 information is so entangled with the analyses and conclusions that release would reveal
                                                                                 specific threats and hazards which are pre-decisional and part of the deliberative process, and
                                                                                 may not reflect FEMA's current position regarding the risks and their impacts on the United
                                                                                 States. Disclosure of this deliberative and pre-decisional information would discourage the
                                                                                 expression of candid opinions and inhibit the free and frank exchange of information among
       SNRA 2015,                   New and updated threats, drivers, and        agency personnel.
       Technical Appendix,          risks identified in the Table of Contents of The key findings examine and compare risks for their likelihood of occurrence, potential
000114 May 2015                     the SNRA 2015.                               impacts of threats and hazards, and analyze the uncertainty associated with each risk.
                                    A list of new and updated risks identified
000116                              in the 2015 SNRA.
                                    Information on the methodology that was
                                    updated for the 2015 SNRA, and how it
000118                              differs from the 2011 SNRA.
                                    Information on the methodology that was
                                    updated for the 2015 SNRA, and how it
000119                              differs from the 2011 SNRA.
                                    Thresholds for specific threats and hazards
000120                              in the 2011 SNRA.
                                    Thresholds for specific threats and hazards
                                    in the 2011 SNRA and the 2015 SNRA; a
                                    footnote containing reference
000121                              information.
                                    Threats, hazards, and their related data
000122                              sources for the 2011 and 2015 SNRAs.
                                    Threats, hazards, impact types, and their
                                    related data sources for the 2011 and
                                    2015 SNRAs; a footnote containing
000123                              reference information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 20 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on the new types of analyses
                employed in the 2015 SNRA; footnotes on
000124          how frequency was used and interpreted.
                Information on the new types of analyses
                employed in the 2015 SNRA; a footnote
                describing how information received from
                subject matter experts was modeled and
000125          interpreted.
                A table comparing the risks of specific
000127          types threats and hazards.
                The key findings of the SNRA, organized by
                type of risk; footnotes containing
000128          explanatory information.
                The key findings of the SNRA; footnotes
                containing reference and explanatory
000129          information.
000130          The key findings of the SNRA.
000131          The key findings of the SNRA.
                The key findings of the SNRA; footnotes
                containing reference and explanatory
000132          information.
                The key findings of the SNRA; a footnote
000133          containing explanatory information.
                The key findings of the SNRA; a footnote
000134          containing explanatory information.
000135          The key findings of the SNRA.
                The key findings of the SNRA; footnotes
                containing explanatory and historical
000136          information.
                The key findings of the SNRA; footnotes
000137          containing reference information.
                The key findings of the SNRA; a footnote
000138          containing explanatory information.
                The key findings of the SNRA; a footnote
000139          containing explanatory information.
000140          The key findings of the SNRA.
000141          The key findings of the SNRA.
                The key findings of the SNRA; a footnote
000142          containing explanatory information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 21 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                The key findins of the SNRA; information
                on how the frequencies for the 2011 and
                2015 SNRAs were estimated; footnotes
000143          containing explanatory information.
                Information on how the frequency results
                were interpreted; more key findings of the
                SNRA; footnotes containing explanatory
000144          information.
000145          The key findings of the SNRA.
                A footnote containing reference and
000146          explanatory information.
                The key findings of the SNRA; footnotes
000148          containing explanatory information.
                Footnotes containing explanatory
000149          information.
                The key findings of the SNRA; footnotes
                containing reference and explanatory
000150          information.
                The key findings of the SNRA; footnotes
000151          containing reference information.
                The key findings of the SNRA; footnotes
                containing reference and explanatory
000152          information.
                The key findings of the SNRA; footnotes
                containing reference and explanatory
000153          information.
                The key findings of the SNRA; footnotes
                containing reference and explanatory
000154          information.
                The key findings of the SNRA; footnotes
                containing reference and explanatory
000155          information.
                The key findings of the SNRA; footnotes
                containing reference and explanatory
000156          information.
                The key findings of the SNRA; footnotes
                containing data, reference, and
000157          explanatory information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 22 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                The key findings of the SNRA; a footnote
000158          containing explanatory information.
                The key findings of the SNRA; footnotes
                containing reference and explanatory
000159          information.
                The key findings of the SNRA; a footnote
000160          containing reference information.
000161          References.
000162          References.
000163          References.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing explanatory
000164          information.
                Footnotes containing explanatory
000165          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000166          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000167          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000168          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000169          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000170          information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 23 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000171          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000172          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000173          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000174          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference, historical,
000175          and explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing explanatory
000176          information and editorial comments.
                Information on a specific category of
000177          threats, and their respective impacts.
000178          References.
000179          References.
000180          References.
000181          References.
000182          References.
000183          References.
000184          References.
000185          References.
000186          References.
000187          References.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 24 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts;
                footnotes reference, historical, and
000188          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes reference and explanatory
000189          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes reference, historical, and
000190          explanatory information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference and
000191          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000192          explanatory information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000193          information.
                Information on a specific category of
000194          threats, and their respective impacts.
000195          References.
000196          References.
000197          References.
000198          References.
000199          References.
000200          References.
000201          References.
000202          References.
000203          References.
                Historical data; footnotes containing
000204          reference and explanatory information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 25 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing explanatory
000206          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000207          explanatory information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000208          information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000209          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000210          information.
                Data related to specific threats; a footnote
000211          containing reference information.
000212          Data related to specific threats.
000213          Data related to specific threats.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000214          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference,
000215          explanatory, and historical information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000216          historical information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 26 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000217          explanatory information.
                Information and data on a specific
                category of threats, and their respective
                impacts; a footnote containing reference
000218          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing explanatory and
000219          historical information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000220          explanatory information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000221          information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000222          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000223          information.
000224          References.
000225          References.
000226          References.
000227          References.
000228          References.
000229          References.
000230          References.
000231          References.
000232          References.
000233          References.
000234          References.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 27 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

000235          References.
000236          References.
000237          References.
                Data related to specific threats; footnotes
                containing reference and explanatory
000238          information.
                Data related to specific threats; footnotes
000239          containing reference information.
                Data related to specific threats; footnotes
                containing reference and explanatory
000240          information.
                Data related to specific threats; footnotes
000241          containing explanatory information.
                Data related to specific threats; footnotes
                containing reference and explanatory
000242          information.
                Data related to specific threats; footnotes
000243          containing explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference, historical,
000244          and explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference, historical,
000245          and explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference, historical,
000246          and explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference, historical,
000247          and explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000248          explanatory information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 28 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
000249          threats, and their respective impacts.
                Information on a specific category of
000250          threats; references.
000251          References.
000252          References.
000253          References.
000254          References.
000255          References.
000256          References.
000257          References.
                Data related to specific threats; footnotes
                containing reference and explanatory
000258          information.
                Data related to specific threats; footnotes
                containing reference and explanatory
000260          information.
                Footnotes containing explanatory
000261          information.
                Information related to specific threats;
                footnotes containing reference, historical,
000262          and explanatory information.
                Information related to specific threats;
                footnotes containing reference and
000263          explanatory information.
                Information related to specific threats;
                footnotes containing reference and
000264          explanatory information.
                Information related to specific threats;
                footnotes containing reference and
000265          explanatory information.
                Data and information on a specific
                category of threats, and their respective
                impacts; footnotes containing reference
000266          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000267          explanatory information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 29 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000268          explanatory information.
                Data and information on a specific
                category of threats, and their respective
                impacts; footnotes containing reference
000269          and explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000270          historical information.
000271          Data related to specific threats.
                Data and information on a specific
                category of threats, and their respective
                impacts; footnotes containing reference
000272          and explanatory information.
                Data on a specific category of threats, and
                their respective impacts; a footnote
000273          containing reference information.
                Information and data on a specific
                category of threats, and their respective
                impacts; footnotes containing reference,
000274          historical, and explanatory information.
                Footnotes containing reference,
000275          explanatory, and historical information.
                Data and information related to specific
                threats; footnotes containing reference
000276          and explanatory information.
                Information related to specific threats;
                footnotes containing reference,
000277          explanatory, and historical information.
                Information related to specific threats;
                footnotes containing reference,
000278          explanatory, and historical information.
                Information related to specific threats;
                footnotes containing explanatory
000279          information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 30 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information related to specific threats;
                footnotes containing explanatory
000280          information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000281          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000282          explanatory information.
                Information on a specific category of
                threats, and their respective impacts; a
000283          footnote containing historical information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000284          explanatory information.
                Information on a specific category of
000285          threats, and their respective impacts.
000286          Data related to specific threats.
                Data related to a specific category of
                threats, and their respective impacts;
                footnotes containing reference, historical,
000288          and explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000289          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000290          historical information.
                Data and information on a specific
                category of threats, and their respective
                impacts; a footnote containing reference
000291          information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 31 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000292          information.
                Information on a specific category of
000293          threats, and their respective impacts.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000294          explanatory information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000295          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000296          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000297          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000298          information.
                Information and data on a specific
                category of threats, and their respective
                impacts; footnotes containing reference
000299          information.
                Data on a specific category of threats, and
                their respective impacts; footnotes
000300          containing reference information.
                Data and information related to a specific
                category of threats, and their respective
                impacts; footnotes containing reference
000302          and explanatory information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 32 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference and
000303          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000304          information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000305          information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference and
000306          historical information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference,
000307          explanatory, and historical information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference,
000308          explanatory, and historical information.
                Data and information related to a specific
                category of threats, and their respective
                impacts; footnotes containing reference,
000309          historical, and explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000310          explanatory information.
                Information and data related to a specific
                category of threats, and their respective
                impacts; footnotes containing reference
000311          and explanatory information.
                Data related to specific threats; footnotes
                containing reference and explanatory
000312          information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 33 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Data and information related to a specific
                category of threats, and their respective
                impacts; footnotes containing reference
000314          and explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000315          information.
                Information related to a specific category
                of threats, and their respective impacts;
                footnotes containing reference and
000316          explanatory information.
                Information related to a specific category
                of threats, and their respective impacts;
                footnotes containing reference and
000317          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000318          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000319          explanatory information.
000320          Information related to specific threats.
000321          Information related to specific threats.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000322          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000323          explanatory information.
                Information on a specific category of
000324          threats, and their respective impacts.
                Information on a specific category of
000325          threats, and their respective impacts.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 34 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
000326          threats, and their respective impacts.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000327          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000328          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000329          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000330          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000331          explanatory information.
                Information on a specific category of
000332          threats, and their respective impacts.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000333          explanatory information.
                Information on a specific category of
000334          threats, and their respective impacts.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000335          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing explanatory
000336          information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 35 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
000337          threats, and their respective impacts.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing explanatory
000338          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000340          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000341          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000342          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000343          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000344          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000345          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000346          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000347          information.
000348          Data related to specific threats.
                                        Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 36 of 63
                               Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                                                                                  • Deliberative Process Privilege
                                                                                  The deliberative process privilege protects the integrity of the deliberative or decision-making
                                                                                  processes within the agency by exempting from mandatory disclosure opinions, conclusions,
                                                                                  and recommendations included within inter-agency or intra-agency memoranda or letters. The
                                                                                  release of this internal information would discourage the expression of candid opinions and
                                                                                  inhibit the free and frank exchange of information among agency personnel.
                                                                                  The deliberative process privilege was used to withhold the key findings, source information,
                                                                                  methodology, technical data, threats, hazards, analyses, interpretations, conclusions, and
                                                                                  information on previouisly-released threats and hazards that were updated for the draft 2015
                                                                                  SNRA. This document is a draft and didn't complete the review process in order to be finalized.
                                                                                  This document contains data and factual information; however, the withheld data and factual
                                                                                  information is so entangled with the analyses and conclusions that release would reveal
                                                                                  specific threats and hazards which are pre-decisional and part of the deliberative process, and
                                                                                  may not reflect FEMA's current position regarding the risks and their impacts on the United
                                                                                  States. Disclosure of this deliberative and pre-decisional information would discourage the
                                                                                  expression of candid opinions and inhibit the free and frank exchange of information among
                                                                                  agency personnel.
       SNRA 2011                                                                  The key findings examine and compare risks for their likelihood of occurrence, potential
       Supplement:                                                                impacts of threats and hazards, and analyze the uncertainty associated with each risk.
       Unclassified                                                               The appendices further discuss certain risks, contain calculations, more data and sources, and
       Documentation of               A list of errors and changes made for the   contain risk summary sheets for a variety of hazards. The risk summary sheets contain
000351 Findings           (b)(5)      2015 SNRA.                                  summarized versions of data, impacts, analyses, historical information, and sources.
                                      Information on the nature of the
                                      unclassified findings and the differences
                                      between them and the classified findings;
                                      footnotes containing reference and
000352                                explanatory information.
                                      Specific findings, threats, drivers,
                                      categories, and appendices identified in
000356                                the Table of Contents of the 2011 SNRA.
                                      Information on a specific category of
                                      threats, and their respective impacts; a
                                      footnote containing explanatory
000357                                information.
                                      A list of threats identified in the 2011
000358                                SNRA.
                                      A table comparing the risks of specific
                                      types threats and hazards; a footnote
000359                                containing explanatory information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 37 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                A table comparing the risks of specific
000360          types threats and hazards.
                A table comparing the risks of specific
                types threats and hazards; a footnote
000361          containing explanatory information.
                Footnotes containing reference and
000362          explanatory information.
000363          Excluded risks and reasons for exclusion.
                Footnotes containing reference and
000364          explanatory information.
                A specific threat; a footnote containing
000365          reference and explanatory information.
                Examples of hazards and their
000366          assessments.
                Footnotes containing reference and
000367          explanatory information.
000368          Excluded risks.
                Excluded risks; a footnote containing
000369          explanatory information.
000370          The key findings of the SNRA.
                The key findings of the SNRA; footnotes
                containing reference and explanatory
000371          information.
000372          The key findings of the SNRA.
000373          The key findings of the SNRA.
                The key findings of the SNRA; a footnote
000374          containing explanatory information.
000375          The key findings of the SNRA.
000376          The key findings of the SNRA.
                The key findings of the SNRA; footnotes
000377          containing reference information.
000378          The key findings of the SNRA.
                The key findings of the SNRA; a footnote
000379          containing explanatory information.
000380          The key findings of the SNRA.
000381          The key findings of the SNRA.
                The key findings of the SNRA; a footnote
000382          containing reference information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 38 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                The key findings of the SNRA; footnotes
000383          containing reference information.
                The key findings of the SNRA; footnotes
000384          containing reference information.
                The key findings of the SNRA; footnotes
000385          containing reference information.
                The key findings of the SNRA; footnotes
000386          containing reference information.
                The key findings of the SNRA; footnotes
000387          containing reference information.
                The key findings of the SNRA; footnotes
                containing reference and explanatory
000388          information.
                The key findings of the SNRA; footnotes
000389          containing reference information.
                The key findings of the SNRA; footnotes
000390          containing reference information.
                The key findings of the SNRA; footnotes
000391          containing reference information.
                The key findings of the SNRA; footnotes
000392          containing reference information.
                The key findings of the SNRA; footnotes
                containing reference and explanatory
000393          information.
                The key findings of the SNRA; footnotes
                containing reference and explanatory
000394          information.
                The key findings of the SNRA; footnotes
000395          containing reference information.
                The key findings of the SNRA; footnotes
                containing reference and explanatory
000396          information.
                The key findings of the SNRA; footnotes
000397          containing reference information.
                The key findings of the SNRA; footnotes
000398          containing reference information.
                The key findings of the SNRA; footnotes
                containing reference and explanatory
000399          information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 39 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                The key findings of the SNRA; footnotes
                containing reference and explanatory
000400          information.
                The key findings of the SNRA; footnotes
                containing reference and explanatory
000401          information.
                The key findings of the SNRA; footnotes
000402          containing reference information.
                The key findings of the SNRA; footnotes
                containing reference and explanatory
000403          information.
000408          A table of contents of appendices.
                An appendix on graphical representations
000410          of data.
                An appendix on graphical representations
000411          of data.
                An appendix on graphical representations
                of data; a footnote containing explanatory
000412          information.
                An appendix on methodology; a footnote
000413          containing explanatory information.
000414          An appendix on methodology.
000415          An appendix on methodology.
000416          An appendix on methodology.
000417          An appendix on methodology.
                An appendix on methodology; footnotes
000418          containing explanatory information.
                Footnotes containing explanatory,
000419          historical, and reference information.
                Footnotes containing explanatory,
000420          historical, and reference information.
                An appendix on assessing the impacts of a
000421          specfic hazard.
                An appendix on assessing the impacts of a
000422          specfic hazard.
                An appendix on assessing the impacts of a
000423          specfic hazard.
                An appendix on assessing the impacts of a
000424          specfic hazard.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 40 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                An appendix on assessing the impacts of a
                specific hazard; footnotes containing
000425          reference and explanatory information.
                Footnotes containing historical,
000426          explanatory, and reference information.
                Footnotes containing historical,
000427          explanatory, and reference information.
                An appendix on assessing the impacts of a
000428          specfic hazard.
                An appendix on assessing the impacts of a
000429          specfic hazard.
                An appendix on assessing the impacts of a
000430          specfic hazard.
                An appendix on assessing the impacts of a
000431          specfic hazard.
                An appendix on assessing the impacts of a
                specific hazard; footnotes containing
000432          reference and explanatory information.
                Footnotes containing explanatory,
000433          historical, and reference information.
                Footnotes containing explanatory,
000434          historical, and reference information.
                An appendix on assessing the impacts of a
                specific hazard; a footnote containing
000435          reference and explanatory information.
                An appendix on assessing the impacts of a
000436          specfic hazard.
                An appendix on assessing the impacts of a
000437          specfic hazard.
                An appendix on assessing the impacts of a
000438          specfic hazard.
                An appendix on assessing the impacts of a
000439          specfic hazard.
                An appendix on assessing the impacts of a
                specific hazard; footnotes containing
000440          reference and explanatory information.
                Footnotes containing explanatory,
000441          historical, and reference information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 41 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Footnotes containing explanatory,
000442          historical, and reference information.
                An appendix on assessing the impacts of a
                specific hazard; footnotes containing
000443          explanatory information.
                An appendix on assessing the impacts of a
                specific hazard; a footnote containing
000444          reference information.
                An appendix on assessing the impacts of a
000445          specfic hazard.
                An appendix on assessing the impacts of a
000446          specfic hazard.
                An appendix on assessing the impacts of a
000447          specfic hazard.
                An appendix on assessing the impacts of a
                specific hazard; footnotes containing
                explanatory, historical, and reference
000448          information.
                Footnotes containing reference and
000449          explanatory information.
                An appendix on assessing the impacts of a
                specific hazard; footnotes containing
000450          reference information.
                An appendix on assessing the impacts of a
                specific hazard; a footnote containing
000451          reference and explanatory information.
                An appendix on assessing the impacts of a
000452          specfic hazard.
                An appendix on assessing the impacts of a
                specific hazard; footnotes containing
000453          reference information.
                An appendix on assessing the impacts of a
000454          specfic hazard.
                An appendix on assessing the impacts of a
000455          specfic hazard.
                An appendix on assessing the impacts of a
000456          specfic hazard.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 42 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                An appendix on assessing the impacts of a
                specific hazard; a footnote containing
000457          reference and explanatory information.
                An appendix on assessing the impacts of a
000458          specfic hazard.
                An appendix on assessing the impacts of a
000459          specfic hazard.
                An appendix on assessing the impacts of a
000460          specfic hazard.
                An appendix on assessing the impacts of a
000461          specfic hazard.
                An appendix on thresholds; a footnote
000462          containing explanatory information.
                An appendix on thresholds; footnotes
                containing reference and explanatory
000463          information.
                An appendix on thresholds; footnotes
                containing reference and explanatory
000464          information.
                An appendix on thresholds; footnotes
000465          containing explanatory information.
                An appendix on thresholds; footnotes
                containing reference and explanatory
000466          information.
                An appendix on thresholds; footnotes
                containing reference and explanatory
000467          information.
000468          An appendix on thresholds.
                An appendix containing summary sheets
                of various risks; table of contents of the
                summary sheets; footnotes containing
                historical, explanatory, and reference
000470          information.
                An appendix containing summary sheets
000471          of various risks.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000472          historical, and explanatory information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 43 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                A risk summary sheet in the appendix,
                including footnotes containing reference,
000473          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000474          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000475          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including a footnote containing reference
000476          information.
000477          Data table.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000478          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000479          historical, and explanatory information.
000480          A risk summary sheet in the appendix.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000481          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000482          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000483          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000484          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000485          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000486          historical, and explanatory information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 44 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                A risk summary sheet in the appendix,
                including footnotes containing reference
000487          and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000488          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000489          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000490          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000491          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000492          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000493          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000494          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000495          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000496          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000497          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000498          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000499          historical, and explanatory information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 45 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                A risk summary sheet in the appendix,
                including footnotes containing reference,
000500          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000501          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000502          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000503          historical, and explanatory information.
000504          References.
000505          Data table.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000506          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000507          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000508          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000509          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000510          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including a bibliography and a footnote
000511          containing a definition.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000512          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including references and footnotes
000513          containing reference information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 46 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                A risk summary sheet in the appendix,
                including footnotes containing reference,
000514          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000515          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including references and footnotes
000516          containing reference information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000517          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including references and footnotes
                containing reference and explanatory
000518          information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000519          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including references and footnotes
                containing reference and explanatory
000520          information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000521          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000522          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000523          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000524          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000525          historical, and explanatory information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 47 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                A risk summary sheet in the appendix,
                including references and footnotes
                containing reference and explanatory
000526          information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000527          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000528          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including references and footnotes
                containing reference and explanatory
000529          information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000530          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000531          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000532          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000533          historical, and explanatory information.
                An appendix containing data on various
000534          hazards.
                An appendix containing data on various
000535          hazards.
                An appendix containing data on various
000536          hazards.
                An appendix containing data on various
000537          hazards.
                An appendix containing data on various
000538          hazards.
                An appendix on assessing the impacts of a
                specific hazard; footnotes containing
000539          historical and reference information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 48 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                A risk summary sheet in the appendix,
                including footnotes containing reference,
000540          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000541          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including footnotes containing reference,
000542          historical, and explanatory information.
                A risk summary sheet in the appendix,
                including references and footnotes
                containing reference and explanatory
000543          information.
                An appendix on data sources; a footnote
000544          containing explanatory information.
                An appendix on data sources; a footnote
                containing explanatory and reference
000545          information.
000546          An appendix on data sources.
000547          An appendix on data sources.
000548          An appendix on data sources.
                An appendix containing a table comparing
                the risks of specific types threats and
000549          hazards.
                An appendix containing a table comparing
                the risks of specific types threats and
000550          hazards.
                An appendix on the 2011 SNRA's findings;
                a footnote containing reference and
000551          explanatory information.
000552          An appendix on the 2011 SNRA's findings.
000553          An appendix on the 2011 SNRA's findings.
                An appendix on the 2011 SNRA's findings;
                a footnote containing explanatory
000554          information.
                An appendix on the 2011 SNRA's findings;
                a footnote containing explanatory
000555          information.
000556          An appendix on the 2011 SNRA's findings.
                                        Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 49 of 63
                               Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

000557                                An appendix on the 2011 SNRA's findings.
                                                                                    • Deliberative Process Privilege
                                                                                    The deliberative process privilege protects the integrity of the deliberative or decision-making
                                                                                    processes within the agency by exempting from mandatory disclosure opinions, conclusions,
                                                                                    and recommendations included within inter-agency or intra-agency memoranda or letters. The
                                                                                    release of this internal information would discourage the expression of candid opinions and
                                                                                    inhibit the free and frank exchange of information among agency personnel.
                                                                                    The deliberative process privilege was used to withhold the source information, methodology,
                                                                                    technical data, threats, hazards, analyses, interpretations, conclusions, and information on
                                                                                    previouisly-released threats and hazards that were updated for the draft 2015 SNRA. This
                                                                                    document is a draft and didn't complete the review process in order to be finalized. This
                                                                                    document contains data and factual information; however, the withheld data and factual
                                                                                    information is so entangled with the analyses and conclusions that release would reveal
                                                                                    specific threats and hazards which are pre-decisional and part of the deliberative process, and
                                                                                    may not reflect FEMA's current position regarding the risks and their impacts on the United
                                                                                    States. Disclosure of this deliberative and pre-decisional information would discourage the
                                      Specific threats, drivers, and categories     expression of candid opinions and inhibit the free and frank exchange of information among
       SNRA Working                   identified in the Table of Contents of the    agency personnel.
000566 Papers, May 2015   (b)(5)      SNRA 2015 Working Papers.
                                      Information on a specific category of
000570                                threats, and their respective impacts.
                                      Information and data on a specific
                                      category of threats, and their respective
                                      impacts; a footnote containing
000571                                explanatory information.
                                      Information and data on a specific
                                      category of threats, and their respective
                                      impacts; footnotes containing reference
000572                                and explanatory information.
                                      Data on a specific category of threats, and
000573                                their respective impacts.
                                      Information on a specific category of
000574                                threats, and their respective impacts.
                                      Data on a specific category of threats, and
                                      their respective impacts; footnotes
                                      containing reference and explanatory
000575                                information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 50 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000576          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000577          information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000578          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000579          explanatory information.
                Information and data on a specific
                category of threats, and their respective
000580          impacts.
                Data on a specific category of threats, and
                their respective impacts; footnotes
000581          containing explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000582          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000583          historical information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000584          information.
                Data on a specific category of threats, and
                their respective impacts; footnotes
000585          containing reference information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 51 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000586          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000587          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000588          information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000589          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000590          information.
                Information and data on a specific
                category of threats, and their respective
                impacts; a footnote containing reference
000591          information.
                Data on a specific category of threats, and
000592          their respective impacts.
                Data on a specific category of threats, and
                their respective impacts; footnotes
000593          containing explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference, historical,
000594          and explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000595          information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 52 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference, historical,
000596          and explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000597          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000598          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000599          historical information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000600          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000601          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000602          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000603          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000604          information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 53 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000605          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000606          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000607          explanatory information.
                Data on a specific category of threats, and
                their respective impacts; footnotes
000608          containing reference information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000610          explanatory information.
                Information and data on a specific
                category of threats, and their respective
                impacts; footnotes containing reference
000611          and explanatory information.
                Information and data on a specific
                category of threats, and their respective
                impacts; footnotes containing reference
000612          and explanatory information.
                Information and data on a specific
                category of threats, and their respective
                impacts; footnotes containing reference
000613          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000614          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000615          explanatory information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 54 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000616          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference,
000617          explanatory, and historical information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000618          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference,
000619          explanatory, and historical information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference,
000620          explanatory, and historical information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000621          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000622          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000623          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000624          information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 55 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000625          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference,
000626          explanatory, and historical information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000627          information.
                Information on a specific category of
                threats, and their respective impacts;
000628          references.
000629          References.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000630          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000631          explanatory information.
                Information and data on a specific
                category of threats, and their respective
                impacts; footnotes containing reference
000632          and explanatory information.
                Data on a specific category of threats, and
                their respective impacts; footnotes
000633          containing reference information.
                Data on a specific category of threats, and
                their respective impacts; footnotes
000634          containing reference information.
                Information and data on a specific
                category of threats, and their respective
                impacts; footnotes containing reference
000635          and explanatory information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 56 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference,
000636          explanatory, and historical information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000637          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000638          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000639          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000640          information.
                Information and data on a specific
                category of threats, and their respective
                impacts; footnotes containing reference
000641          and explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000642          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000643          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000644          information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 57 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts;
                references; a footnote containing
000645          reference information.
000646          References.
                Information and data on a specific
                category of threats, and their respective
                impacts; footnotes containing reference
000648          and explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000649          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000650          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000651          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000652          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000653          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000654          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000656          information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 58 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000657          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000658          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000659          information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000660          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000661          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000662          information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000663          information.
                Information and data on a specific
                category of threats, and their respective
000664          impacts.
                Information and data on a specific
                category of threats, and their respective
000665          impacts.
                Information on a specific category of
000666          threats, and their respective impacts.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 59 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000668          information.
                Information and data on a specific
                category of threats, and their respective
000669          impacts.
                Information and data on a specific
                category of threats, and their respective
000670          impacts.
                Information on various categories of
                threats, and their respective impacts; a
                footnote containing reference
000671          information.
                Information on a specific category of
000672          threats, and their respective impacts.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000673          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000674          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing explanatory
000675          information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000676          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000677          information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 60 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000678          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000679          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000680          explanatory information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000681          information.
                Information on a specific category of
000682          threats, and their respective impacts.
                Information on a specific category of
000683          threats, and their respective impacts.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000684          information.
                Information on a specific category of
000685          threats, and their respective impacts.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000686          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000687          information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000688          information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 61 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000689          information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000690          information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000691          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000692          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000693          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000694          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000695          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000696          information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000697          information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 62 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000698          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000699          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000700          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000701          explanatory information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000702          information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000703          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000704          information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000705          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000706          information.
                  Case 1:18-cv-00158-CKK Document 22-1 Filed 03/01/19 Page 63 of 63
         Public Employees for Environmental Responsibility v. U.S. Department of Homeland Security 18-cv-158

                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000707          information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000708          information.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000709          information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference, historical,
000710          and explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference and
000711          explanatory information.
                Information on a specific category of
                threats, and their respective impacts;
                footnotes containing reference
000712          information.
                Information on a specific category of
000713          threats, and their respective impacts.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000714          information.
                Information on a specific category of
000715          threats, and their respective impacts.
                Information on a specific category of
                threats, and their respective impacts; a
                footnote containing reference
000716          information.
